Case 22-40205-JMM          Doc 86     Filed 11/04/22 Entered 11/04/22 14:56:14              Desc Main
                                     Document      Page 1 of 2



Patrick J. Geile, ISB No. 6975
CHAPTER 7 BANKRUPTCY TRUSTEE
PO Box 925
Meridian, ID 83680
Telephone: (208) 947-1575


                            UNITED STATES BANKRUPTCY COURT

                                         DISTRICT OF IDAHO

In Re:
                                                       Case No. 22-40205-JMM
GOLD RING TRANSPORTATION, LLC,                         Chapter 7

                                                       REPORT OF SALE BY TRUSTEE
                                Debtor


         The Trustee has sold the following property of the estate, and pursuant to Bankruptcy Rule

6004(f)(1), makes this report of sale.

         1. DESCRIPTION OF PROPERTY SOLD: 2022 PJ Flatbed Trailer.

         2. DATE AND TIME OF SALE: September 28, 2022, from 10:00 a.m. to 6:00 p.m.

         3. NAME AND ADDRESS OF BUYER: Patrick Gill, All Pride Electric, 4543 E. 3175
            N. Murtaugh, ID 83344.

         4. ACCOUNTING OF SALE PROCEEDS:

         Sales Price: $3,050.00 + (10%) Buyer’s Premium $305.00 = $3,355.00(Total Sale Price)

                Total Sale Price:                       $3,355.00

         (-)    Auctioneer’s Commission (7.5%):         $228.75
         (+)    Buyer’s Premium         (10%):          $305.00

         (=)    NET AMOUNT TO ESTATE:                   $3,126.25

         Trustee certifies that this report is true and correct to the best of the Trustee’s knowledge.

Date: November 4, 2022

                                                    /s/ Patrick J. Geile
                                                    Chapter 7 Bankruptcy Trustee


REPORT OF SALE BY TRUSTEE - 1
Case 22-40205-JMM         Doc 86     Filed 11/04/22 Entered 11/04/22 14:56:14          Desc Main
                                    Document      Page 2 of 2




                                  CERTIFICATE OF SERVICE

       I hereby certify that on this date as indicated below, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which sent a Notice of Electronic Filing to

the individuals so noted below. I further certify that, on the same date, I have mailed by United

States Postal Service the foregoing document to the following non-EM/ECF Registered

Participant(s) either listed below or on an attached list.

Served by EFC

US Trustee
ustp.region18.bs.ecf@usdoj.gov                         William M Humphries
                                                       bill.humphries@usdoj.gov
Michael A. Wilder
michael@averylaw.net                                   R Ron Kerl
                                                       Ron@cooper-larsen.com
Laura E Burri
lburri@morrowfischer.com                               Sheila Rae Schwager
                                                       sschwager@hawleytroxell.com
Gery W Edson
gedson@gedson.com                                      Thomas Daniel Smith
                                                       tom@pocatello-law.com
Ryan E Farnsworth
ryan@averylaw.net,                                     Meredith Leigh Thielbahr
                                                       mthielbahr@grsm.com


Served by U.S. MAIL
Gold Ring Transportation LLC
583 E 300 S
Jerome, ID 83338

                                                    /s/ Patrick J. Geile
                                                    Date: November 4, 2022




REPORT OF SALE BY TRUSTEE - 2
